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                   Case: 1:21-cv-00564-CAB              #: 55 Filed: 08/03/22 1 of 1. PageID #: 310
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  U.S. Department of Justice                                                                  PROCESS RECEIPT AND RETURN
  United States Marshals Service                RECEIVED
                                                By Janel Duncan al 10:32 am, Nov 18, 2021     See 11!11str11ctions for Service of Process hv U.S. A1arslw!"

   PLAINTIFF                                                                                                                COURT CASE NUMBER
  United States of America                                                                                                  l:21CV564
   DEFENDANT                                                                                                                TYPE OF PROCESS
  Real property located at 100 Mountain View Drive, et al.                                                                  Execute Interlocutory Sale
                         NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN

       SERVE Real Property at 2110 South Green Road, South Euclid, Ohio, Cuyahoga County Permanent Parcel No. 703-22-019
          AT { ADDRESS (Street or RFD, Apartment No., City, State and ZIP Code)

   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                                  Number of process to be
                                                                                                                       served with this Fonn 285

                  IHenry F. DeBaggis, Assistant United States Attorney                                                  Number of parties to be    c
                    Office of the United States Attorney                                                                served in this case       N
                    801 W. Superior Avenue, 400 United States Courthouse
                    Cleveland, Ohio 44113
                                                                                                                        Check for service
                  L                                                                                                     on U.S.A.

       SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (luc{ude B11sillessa11d Alternate Addresses,
       All Telephone Numbers, am/ Estimated Times Available for Serv;ce):
Fold                                                                                                                                                                      Fold


        Please take custody, and sell, the real property located at 2110 South Green Road, South Euclid, Ohio, Cuyahoga County
        Pennanent Parcel No. 703-22-019 pursuant to the terms of the interlocutory sale order issued on November 18, 2021.
        (2 l-FDA-000072)


   Signature of Attorney other Originator requesting service on behalf of:                    IL PLAINTIFF           TELEPHONE NUMBER                   DATE


  /s/ Henry F. DeBaggis
                                                                                              I DEFENDANT            216-622-3749                       11/18/21

        SPACE BELOW FOR USE OF U.S. MARSHAL ONLY--DO NOT WRITE BELOW THIS LINE
   I acknowledge receipt for the total      Total Process    District of        Distiict to       Signature of Authorized USMS Deputy or Clerk                 Date
   number of process indicated.                              Origin             Serve
   (Sign only for USM 285 if more
   than one USM 285 is submitted)
                                               1             No
                                                                    e,b         No.~

   thereby certify and return that I _J have personally served ,'._J have legal evidence of service,       L
                                                                                                        have executed as shown in "Remarks", the process described
   on the individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

       7 I hereby certify and return that I am unable to locate the individual, company, corporation, etc. named above (See remarks below)
   Name and title of individual served (t{not shown above)                                                                    ._J A person of suitable age and discretion
                                                                                                                                   then residing in defendant's usual place
                                                                                                                                   ofabode
   Address (complete only d(ffi?rent than shown above)                                                                         Date                    Time
                                                                                                                                                                        71<.m
                                                                                                                               tj; );;>                '/'SC            :::J pm
                                                                                                                              o?lure 07.~larshal or Deputy               ~ ,I/./
                                                                                                                                      t2Lt     ~lt,1l'd-1t, ';,.-J,!L
   Service Fee           Total Mileage Charges Forwarding Fee               Total Charges         Advance Deposits     Amount owed to U.S. tvfarslial* or
                         including endeavors)                                                                          (Amount of Refund*)                      d &0
  <t·is                        d                       0                    St,o                     yf                                                               $0.00
   REMARKS,




       PRINT 5 COPIES:       l. CLERK OF THE COURT                                                                                           PRIOR EDITIONS MAY BE USED
                             2. USMS RECORD
                             3. NOTICE OF SERVICE
                             4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,                                                                Form USM-285
                                if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                                Rev. 12/15/80
                             5. ACKNOWLEDGMENT OF RECEIPT                                                                                                          Automated 01/00
